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United States Court of Appeals

For the Eleventh Circuit

 

 

 

 

 

 

FILED
No. 05-14516 U.S. COURT OF APPEALS
ELEVENTH CIRCUIT
District Court Docket No. Dec 23, 2005
04-00145-CV-WCO-2 THOMAS K. KAHN
CLERK
GREGORY EARL WHITNER,
Plaintiff-Appellant,
versus
RICK MOORE,

Sheriff of Habersham County,
Individually and in his official capacity,
ISRAEL SEGARS,

Individually and in his official capacity,

Defendants-Appellees.

  

Appeal from the United States District Court
for the Northern District of Georgia

JUDGMENT

It is hereby ordered, adjudged, and decreed that the attached opinion included herein by
reference, is entered as the judgment of this Court-

Entered: December 23, 2005
For the Court: Thomas K. Kahn, Clerk
By: Jackson, Jarvis

 
   
 

FILED IN CLERK'S OFFICE
US.D.C. Gaingsville

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U.S. COURT OF APPEALS
ATLANTA, Gh

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. IN THE UNITED STATES COURT OF APPEALS

FOR THE E ELEVENTH. CIRCUIT

 

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U.S. COURT OF APPEALS

No 05-14516 BLEVENTH CIRCUIT
| DECEMBER 23, 2005

Non-Argument Calendar »
| i : THOMAS K. KAFIN:
CLERK.

 

 

 

 

 

D. C. Docket No. 04-00145-CV-WCO-2
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~ individually and in his official capacity,
| ISRAEL SEGARS, individually a and i in his official capacity,

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Appeal from the United States District Court |
for the Northern District of Georgia >

 

(December 23, 2005),

Before BLACK, BARKETT, and MARCUS, Circuit Judges.

 

PER CURIAM:

 
 

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Gregory Earl Whitner appeal the district court’ S entiy of summary judgment

in favor of Habersham County Deputy Israel Segars based on qualified immunity.

Whitner sued Deputy Segars, pursuant to 42 U. S.C. 8 1983, alleging Segars arrested

him and seized his property without probable cause in violation of his Fourth

. “Amendment rights.’ On appeal, Whitner argues that Deputy Segars » was not entitled Be

to qualified immunity because no reasonable officer would have believed that .

probable cause, or arguable probable cause, existed to arrest him under the

circumstances of this case. We disagree and, accordingly affirm the cent of |

summary judgment based on qualified immunity. |

The parties are familiar with the background facts, which were ¢ thoroughly :

described by the district court in its order, and: we do not recount them again here. |

We review de novo a district court’ s entry of a summary judgment motion based on

qualified immunity, applying the same legal standards as the district court. See e Lee -

_y, Ferraro, 284 F.3d 1188, 1190 (11th Cir. 2002). We resolve all issues of material

fact in favor of the plaintiff, and then determine the legal question of whether the

defendant is entitled to qualified immunity under that version of the facts. Id.

 

'Whitner’s complaint also named as a defendant Habersham County Sheriff Rick Moore and -
asserted violations of the Fifth, Ninth, and Fourteenth Amendments as to both defendants. In the’

- district court, afier the defendants filed their answer and motion for summary judgment based on

qualified immunity, in his brief opposing summary judgment, Whitner withdrew all claims except
for the Fourth Amendment claim against Deputy Segars. Thus, that is the only claim before us.

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As we observed in Lee v. Ferraro:

Qualified immunity offers “complete protection for government
officials sued in their individual capacities as long as ‘their conduct ©
- violates no clearly established statutory or constitutional rights of which ©
a reasonable person would have known,” Thomas v. Roberts, 261F.3d
1160, 1170 (11th Cir. 2001) (quoting Harlow v. Fitzgerald, 457 U.S.
800, 818, 102 S. Ct. 2727, 2738, 73 L. Ed. 2d 396 (1982)) (additional
‘quotations omitted), The purpose of this immunity is to allow
government officials to carry out their discretionary duties without the
fear of personal liability or harassing lit’gation, see Anderson _v,
Creighton, 483 U.S. 635, 638, 107 S. Ct. 3034, 303 8, 97 L. Ed. 2d 523 .
(1987), protecting from suit “all but the plainly incompetent or one who.
is knowingly violating the federal law.” Willingham v. Loughnan, 261 .
“F.3d 1178, 1187 (11th Cir. 2001). Because qualified immunity isa
defense not only from liability, but also from suit, it is “important for a »
court to ascertain the validity of a qualified immunity defense as early
in the lawsuit as possible.” GJR Invs., Inc. v. County of Escambia, 132.
F.3d 1359, 1370 (11th Cir. 1998) (citation omitted). |

284 F.3d at 1193-94.
To be shielded from suit by qualified immunity, a public official must first

show that he was acting within the scope of his discretionary authority. See Vinyard’

v. Wilson, 311 F.3d 1340, 1336 (11th Cir, 2002). Ifhe does so, the burden then shifts
to the plaintiff to show, first, facts establishing that a constitutional violation

occurred, and second, that the constitutional right was clearly established at the time -

of the violation. Saucier v. Katz, 533 U.S. 194, 201, 121 S. Ct. 2151, 2156, 150 L.

_ Ed. 2d 272 (2001). Here, it is undisputed that Deputy Segars was acting within the. |

scope of his discretionary authority at all material times. '

 
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On the first prong ‘of Saucier, it is well: settled that an arrest without probable
cause violates the Fourth Amendment See Durruthy V. Pastor, 351 F.3d 1080, 1088
a 1th Cir. 2003), cert. denied, 125 S. Ct. 45 (2004), Probable cause to arrest exists a
when an arrest is “objectively reasonable based on the totality of the .e circumstances.” ,
Lee v. Ferraro, 284 F.3d at 1195. “This standard j is met when the | facts and .
circumstances within the officer’s knowledge, of which he or she has reasonably
. trustworthy information, would cause a prudent person to believe, under the
sireumstances shown, that the suspect has committed, is committing, 0 or is about to
commit an offense.” Id, (citations and quotation marks omitted). - |
An officer is entitled to qualified immunity if there was seven “arguable -
probable cause to arrest the defendant, regardless of of whether the facts later establish
that probable cause did not exist. Durru thy, 351 F. 3d at 1089. Whether the officer —
| acted without justification is measured by « a purely objective standard of what a
reasonable officer in the defendant? s position would have perceived. See Nolin.
Isbell, 207 F.3d 1253, 1256n.2 (1 Ith Cir. 2000) (observing “the subjective intent of .
an officer does not affect the existence of a Fourth Amendment violation”), |
| Whitner argues qualified immunity was improvidently granted because no

“reasonable officer would have believed that probable cause existed to arrest him for.

obstruction of a law enforcement officer because his tractor-trailer vehicle was —

 
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parked ¢ ona private, as opposed toa public, road at the time cof his confrontation with -

: . Deputy Segars on Au gust 15, 2003. At the time of this confrontation, Deputy Segars

had been dispatched to the location in response to a call conceming : a trailer parked
in the roadway of Chieftain Trail. Upon his arrival, a little after midnight, Deputy
Segars observed an. unilluminated flatbed trailer r parked at least four feet into the |
roadway, at a point where Chieftain Trail broke off and curved away ‘from Snowy |
River Place. Segars explained that due to the confi guration of the roads -- the trailer
was parked just around a bend ~- he was concerned it posed a safety hazard since a
motorist coming around the bend wight fail to see the trailer until it was too late. |

| After calling a wrecker company to tow the trailer from the road, Deputy
Segars encountered Whitner at his nearby housed and learned that the trailer belonged
to Whitner. Deputy Segars asked Whitner to move the trailer, which, again,
constituted aroad hazard, During the ensuing exchange, Whitner refused tomovethe -
trailer from the road in response to numerous requests by Se gars and sheetened to sue
Segars multiple times if the the vehicle was towed. Whitner also proceeded ‘to nove the a
tractor portion ofthe vehicle from his driveway om onto the road and hitch itto the trailer a
so that now both the tractor and the trailer were on the bend i in the road where Segars .

previously had indicated the trailer wasa road hazard. Whitner then laid down in the

back of the trailer after a wrecker service was called, told Segars to" ‘write it [the oe
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tractor-trailer] a ticket,” and againi onored Segars’s request to move the vehicle after .
Se gars told him it was a ro ad hazard. The tractor and trailer subsequently were towed -
~ and Segars arrested Whitner, charging him >with obsiistin of a law enforcement -
| officer and writing him a ticket for i improper parking.

Deputy Segars maintains that he is entitled to qualified immunity because his :
belief that the road in ‘question was a public road on 1 which the traffic laws were
required to to be enforced was a reasonable one and, after he asked Whitner to move the *
| vehicle, Whitner’s subsequent conduct obstructed the performance of Seger's law
enforcement duties. We agree. As the district court put it: | |

At best, however, the court finds that Whitner believed Chieftain Trail ~ |
was a private road and that the Habersham Superior Court order |
[denying Whitner’s request for mandamus relief directing, inter alia, the
County to maintain Chieftain Trail] supported his position. While
Whitner argues that this information obligated Segars to determine’
whether he.had lawful authority, Whitner has not cited any statutory or
case law that clearly provided Segars with “fair and clear waning” that —
seeking to remove the tractor and trailer from Chieftain Trail and
arrestin g Whitner for obstruction violated his Fourth Amendment ri ights.

. It would appear that the plaintiff i in this case was unhappy witha |
court ruling involving Chieftain Trail. It would appear that he was
deliberately endeavoring to set a trap for the law enforcement officer,
who apparently had no knowledge of the previous dispute but believed

the road to be public. ~ :
 

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On this record, even if Deputy Segars was mistaken as to the private or public nature
| of Chieftain Trail,” we conclude that he had, at the very least, arguable probable cause | :
a to arrest Whitner and have his vehicle removed after Whitner committed | the
misdemeanor offense of obstruction ofa law enforcement officer under Georgia law?
8 imply put, a reasonable officer could have believed, in light of the information |
Segars possessed, that he had probable cause to arrest for obstruction of a law -

enforcement officer. See Montoute v. Carr, 114 F.3d 181, 184 (11th Cir. 1997) -

(holding that arguable probable cause exists when “an officer reasonably couldhave oo

 

*In April 2002, Whitner had petitioned the Habersham County Superior Court for a writ of

~ mandamus directing the County to maintain Snowy River Place and Chieftain Trail, which were dirt
and gravel roads leading to Whitner’s house. The Superior Court denied-mandamus relief, noting _

that although the roads in question were public and “there has never been any limit to the public’s _
access to use the road,” the County had not “accepted” the dedication and, thus, could not be ordered,
by a mandamus petition, to maintain it. In any event, we are satisfied that Deputy Segars’s belief

that the road was public and, thus, the traffic laws were enforceable on it, was areasonable one. We

note that under Georgia law, Chieftain Trail meets the definition of a “public road” by virtue of the

- undisputed fact that it is “open to the public and intended or used for its enjoyment and for the .
passage of vehicles,” O.C.G.A. § 32-1-3(24). | : . Se .

The “essential elements” of misdemeanor obstruction ofa law enforcement officer are: “d)
knowingly and willingly obstructing or hindering, (2) any law enforcement officer, (3) in the lawful. -
discharge of his official duties.” Larkin y, State, 495 S.E.2d 605, 606 (Ga. Ct. App. 1998); see also © .
Berrian v. State, 608 S.E.2d 540, 541 (Ga. Ct. App. 2004). “*The statute was made purposefully | —

broad to cover actions which might not be otherwise unlawful, but which obstructed or hindered law
enforcement officers in carrying out their duties.’” Berrian, 608 S.E.2d at 541 (quoting Weidmann -
v. State, 476 S.E.2d 18 (Ga. Ct. App. 1996)). In this appeal, Whitner challenges the last element of
the crime, arguing that Segars was not in the lawful discharge of his duties because Chieftain Trail
was not a public road. We have dispensed with his argument concerning the public nature of the
road in the foregoing footnote and, accordingly, also conclude that Segars had a duty to enforce the
traffic laws on Chieftain Trail. See O.C.G.A. § 32-1-9 (imposing duty on law enforcement officers .
to enforce traffic laws).

 

 
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believed that probable cause existed, in light of the information. the officer
possessed”). Accordingly, Whitner has not stated a violation of his Fourth
Amendment rights, sufficient to satisfy the first prong of Saucier! Based on our de
: novo review, the district court did not err by granting summary y judgment based on. a
qualified immunity,

AFFIRMED.

 

 

‘We add that even if Whitner could somehow meet the first prong of Saucier, he would not -
succeed under the second prong because no law from the United States Supreme Court, the Georgia
. Supreme Court, or this Court clearly established at the time of the incident that an officer could not -
arrest an individual for obstruction of a law enforcement officer under these circumstances. See

Jenkins by Hall v. Talladega City Bd. of Educ., 115 F.3d 821, 826 n. 4 (11th Cir. 1997) (“In this
circuit, the law can be clearly established for qualified immunity purposes only by decisions of the
U.S. Supreme Court, Eleventh Circuit Court of Appeals, or the highest court of the state where the
case arose.”) (internal quotations omitted).

 

 

 
